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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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ANDREA TANTAROS,
Plaintijjf
-- against -- Case No. l7-cv-2958
FOX NEWS NETWORK, LLC, WlLLlAl\/I
SHINE, IRENA BRIGANTI, PETER A.
SNYDER, DISRUPTOR, INC., and JOHN DECLARATION OF
DOES 1-50, JUDD BURSTEIN
Defena’ants.
X

 

JUDD BURSTEIN hereby declares under penalty of perjury:

l. l am a Principal of Judd Burstein, P.C., attorneys for Plaintiff Andrea Tantaros.

2. l submit this Declaration in opposition to the motion to dismiss, or in the
alternative, compel arbitration, filed by Defendants Peter A. Snyder and Disruptor, Inc.
(“Disruptor”) r(collectively, the “Snyder Defendants”).

3. The purpose of this Declaration is (a) to provide a foundation for documentary
evidence supporting certain factual assertions in the accompanying Memorandum of Lavv
(“MOL”) filed in opposition to the Snyder Defendants’ motion, and (b) to provide more detailed
factual answers to claims made in the Snyder Defendants’ motion.

A. DOCUMENTS TO BE INCLUDED ON THE RECORD IN THIS MOTION

4. Annexed hereto as EXhibit l is a true and accurate copy of a May 26, 2004 letter
from Judge Denny Chin, then a District Court Judge in the Southern District of New York,
addressed to me.

5. Annexed hereto as EXhibit 2 is a true and accurate copy of my June 28, 2017

Declaration, With Exhibits, in opposition to Defendants FOX Nevvs Network, LLC (“Fox NeWs”),

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William Shine (“Shine”), and Irena Briganti’s (“Briganti”, and together with Fox News and
Shine, the “Fox News Defendants”) Rule 11 motion.

6. Annexed hereto as Exhibit 3 is a true and accurate copy of Ms. Tantaros’s
Amended Memorandum of Law in opposition to the Fox News Defendants’ Rule ll motion.

7. Annexed hereto as Exhibit 4 is a true and accurate copy of an April 18, 2017
Salon.com article entitled “Roger Ailes’ fake news empire: Former Fox News head presided
over a panoply of phony ‘sock puppet’ blogs.”

8. Annexed hereto as Exhibit 5 is a true and accurate copy of a May 14, 2017
Politico.com article entitled “The Widening Blast Radius of the Fox News Scandal”.

B. ADDITIONAL FACTS SUPP()RTING THIS OPPOSITION

9. During the course of settlement negotiations with Randy Mastro, Esq., Mr.
Mastro informed me that Mr. Snyder is and has been an on-air commentator for Fox News and
Fox Business Channel since 2012, and is paid a “stipend” of $15,000 per month, or $180,000 per
year for this work. My office has compiled a list of Mr. Snyder’s appearances from 2014
through 2016. To the best of my knowledge, this compilation is exhaustive because, as
explained in the accompanying Declaration of Evan Solomon, a paralegal employed by my firm,
it is based upon (a) a search of Snyder’s name on the www.foxnews.corn website, (b) a search of
Snyder’s name on the www.foxbusiness.com website, and (c) a search of Snyder’s YouTube
page. lt shows that Snyder has been compensated extravagantly by Fox News on a per-
appearance basis. As explained by Mr. Solornon:

a. In 2014, Snyder appeared on Fox News ll times, setting his per-appearance

compensation at $ l 6,3 63 .64;

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b. ln 2015, Snyder appeared on Fox News 13 times, setting his per-appearance

compensation at $13,846.15; and

c. In 2016, Snyder appeared on Fox News 23 times, setting his per-appearance

compensation at $7,826.09.

10. When all totaled over this three year period, upon information and belief based
upon this analysis, Mr. Snyder Was paid $11,489.36 per appearance1 Those sums would be
astronomical standing alone. However, perspective is gained by comparing them with the fees
reportedly paid to Bo Dietl, another on-air contributor for Fox News, and one who is far better
known than Mr. Snyder. ln June of this year, the New York Tz`mes reported that Mr. Dietl is
paid only S700 for each appearance (See Exhibit 6 hereto, a true and accurate copy of a June
24, 2017 article from The New York Times called “A Self-Proclaimed ‘Tough Cop’ Wants a
New Title: Mayor”, at p. 5 of the Exhibit). In other words, Mr. Snyder’s average appearance
fee for the years 2014-2016 is more than 16 times w than the fee paid to Mr. Dietl.
Based on these exorbitant fees, Plaintiff is entitled to the inference that Fox News was paying
Mr. Snyder for something other than his on-air appearances

ll. For completeness purposes, annexed hereto as Exhibit 7 is a true and accurate
copy of a June 28, 2017 Declaration of Andrea Tantaros.

l declare under penalty of perjury that the foregoing is true.

Dated: New York, New York
August 10, 2017

 

JUDD STEIN

 

1 lt is possible that our search did not uncover every appea ce by Mr. Snyder on Fox News

or the Fox Business Channel, but any missing appearances could not possibly reduce the per-
appearance compensation significantly

